             Case 9:16-cv-00104-DWM Document 11 Filed 10/11/16 Page 1 of 3


1    Dale R. Cockrell
2    MOORE, COCKRELL,
     GOICOECHEA & JOHNSON, P.C.
3    145 Commons Loop, Suite 200
4    P.O. Box 7370
     Kalispell, MT 59904-0370
5
     Telephone: (406) 751-6000
6    Facsimile: (406) 756-6522
7
     Email: dcockrell@mcgalaw.com

8    Attorneys for Defendant Pan-American Life Insurance Company
9
                     IN THE UNITED STATES DISTRICT COURT
10
                         FOR THE DISTRICT OF MONTANA
11                            MISSOULA DIVISION
12

13   JANET HEINZE,                               Cause No. 9:16-CV-00104-DWM
14
                  Plaintiff,
15
                                                 STIPULATION FOR
16   v.                                          DISMISSAL OF ALL CLAIMS
17
                                                 WITH PREJUDICE
     PAN-AMERICAN LIFE INSURANCE
18   COMPANY and JOHN DOES 1-4
19
                  Defendants.
20

21

22
           IT IS HEREBY STIPULATED, by and between the parties hereto, through
23
     their respective counsel of record, pursuant to Rule 41, Federal Rules of Civil
24

25   Procedure, that all of the claims alleged in the above-captioned action have been fully
26
     and finally compromised and settled on the merits, and counsel request the Court’s
27

28   Order dismissing the above-captioned action with prejudice, each party to bear its

     STIPULATION FOR DISMISSAL OF ALL CLAIMS WITH PREJUDICE                           Page 1
            Case 9:16-cv-00104-DWM Document 11 Filed 10/11/16 Page 2 of 3


1    own costs and fees. A proposed Order Dismissing All Claims with Prejudice is
2
     attached herewith for the Court’s consideration.
3

4                                          MOORE, COCKRELL,
5
                                           GOICOECHEA & JOHNSON, P.C.

6

7    Dated: October 11, 2016               /s/ Dale R. Cockrell
                                           Dale R. Cockrell
8
                                           145 Commons Loop, Suite 200
9                                          P.O. Box 7370
10
                                           Kalispell, Montana 59904-0370

11                                         Attorneys for Defendant Pan-American
12                                         Life Insurance Company
13
                                           BLIVEN & EVANS TRIAL LAWYERS,
14
                                           P.C.
15

16
     Dated: October 11, 2016                /s/ Alex K. Evans
17                                         Alex K. Evans
18
                                           Michael A. Bliven
                                           278 Fourth Avenue E.N.
19                                         Kalispell, MT 59901
20
                                           Attorneys for Plaintiff Janet Heinze
21

22

23

24

25

26

27

28

     STIPULATION FOR DISMISSAL OF ALL CLAIMS WITH PREJUDICE                       PAGE 2
            Case 9:16-cv-00104-DWM Document 11 Filed 10/11/16 Page 3 of 3


1                              CERTIFICATE OF SERVICE
2
           The undersigned does hereby certify that a true copy of the foregoing document
3

4    was served upon the following individuals by the means designated below:
5
     [X] U.S. Mail            Alex K. Evans
6    [ ] CM/ECF               Michael A. Bliven
7    [ ] Federal Express      BLIVEN & EVANS TRIAL LAWYERS, P.C.
     [ ] Hand-Delivery        278 Fourth Avenue E.N.
8
     [ ] Facsimile            Kalispell, MT 59901
9    [ ] E-Mail
10
                              Attorneys for Plaintiff Janet Heinze

11

12         Dated this 11th day of October, 2016.
13

14

15
                                     /s/Dale R. Cockrell
                                     Dale R. Cockrell
16                                   dcockrell@mcgalaw.com
17

18

19

20

21

22

23

24

25

26

27

28

     STIPULATION FOR DISMISSAL OF ALL CLAIMS WITH PREJUDICE                        PAGE 3
